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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-cv-01493-PAB-KLM

  AIOTV INC.,

         Plaintiff,

  v.

  AIO WIRELESS, LLC,

         Defendant.

                                         ORDER SETTING
                              SCHEDULING/PLANNING CONFERENCE
                               (as amended effective December 1, 2011)


          The above captioned case has been referred to Magistrate Judge Kristen L. Mix pursuant
  to the Order of Reference [#7] entered by District Judge Philip A. Brimmer on June 12, 2013.

                                 A. Date of Scheduling Conference

          IT IS HEREBY ORDERED that a Scheduling/Planning Conference pursuant to Fed. R. Civ.
  P. 16(b) shall be held on October 7, 2013, commencing at 10:00 a.m. in Courtroom C-204, Second
  Floor, Byron G. Rogers United States Courthouse, 1929 Stout Street, Denver, Colorado.

                  B. How to Request Different Date for Scheduling Conference

         If this date is not convenient for any counsel or pro se party, he or she shall file a motion to
  reschedule the conference to a more convenient date, and shall list dates in the motion which are
  available for all counsel and pro se parties. Absent exceptional circumstances, no request for
  rescheduling any appearance in this court will be considered unless a motion is made five (5)
  business days in advance of the date of appearance.

           C. How to Request Appearance By Telephone at Scheduling Conference

         If you wish to appear at the Scheduling Conference by telephone, you must file a motion
  seeking permission to appear by telephone and setting forth good cause for a telephonic
  appearance. No motion for any telephonic appearance will be granted unless it is filed at least five
  (5) business days in advance of the date of appearance.

                  D. Plaintiff’s Duty to Notify Parties of Scheduling Conference

         The plaintiff shall notify all parties who have not entered an appearance as of the date of

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  this Order of the date and time of the Scheduling/Planning Conference set forth above.

                      E. Parties’ Obligations Before Scheduling Conference

         1. Scheduling Order

          IT IS ORDERED that counsel and pro se parties in this case are to hold a pre-scheduling
  conference meeting at least twenty-one (21) days before the scheduling conference pursuant to
  Fed. R. Civ. P. 26(f)(1) and prepare a proposed Scheduling Order in accordance with Fed. R. Civ.
  P. 26(f), as amended. The instructions for completing the Scheduling Order may be found on the
  Court’s website (www.cod.uscourts.gov) with the scheduling order forms. Please be aware that
  effective December 1, 2011, there are TWO forms of Scheduling Order available on the
  Court’s website under the “Local Rules” tab: one form for non-administrative review cases
  and one form for ERISA cases. PLEASE USE THE CURRENT and CORRECT FORM FOR
  YOUR CASE.

         Pursuant to Fed. R. Civ. P. 26(d), as amended, no discovery is to be exchanged until after
  the Rule 26(f) conference meeting. The parties shall include the following language in Section 8,
  Paragraph (d) of their proposed Scheduling Order in non-administrative review cases:

         “Other Planning or Discovery Orders: No opposed discovery motions are to be filed with
         the Court until the parties comply with D.C.COLO.LCivR. 7.1A. If the parties are unable to
         reach agreement on a discovery issue after conferring, they shall arrange a telephone
         hearing with Magistrate Judge Mix regarding the issue. Both of these steps must be
         completed before any contested discovery motions are filed with the Court.”

         No later than five (5) calendar days prior to the Scheduling/Planning Conference, counsel
  and pro se parties shall submit their proposed Scheduling Order in compliance with the Court’s
  Electronic Case Filing Procedures which are also available on the Court’s website. An additional
  copy of the proposed scheduling order is to be provided to my chambers at
  Mix_Chambers@cod.uscourts.gov by e-mail attachment with the subject line stating “proposed
  Scheduling Order.”

          Parties who are pro se or do not have access to the internet may obtain the scheduling
  order form and instructions from the Clerk’s Office, Room A105, in the Alfred A. Arraj United States
  Courthouse, 901 19th Street, Denver, Colorado, 80294. Scheduling Orders prepared by parties
  not represented by counsel, or without access to electronic case filing, are to be submitted to the
  Clerk of the Court on paper.

         2. Mandatory Disclosures

         IT IS FURTHER ORDERED that on or before 14 days after the Rule 26(f) pre-scheduling
  conference meeting, the parties shall comply with the mandatory disclosure requirements of
  Fed.R.Civ.P. 26(a)(1), as amended.

                                          F. Miscellaneous

        All out-of-state counsel shall comply with D.C.COLO.LCivR 83.3 before the
  Scheduling/Planning Conference.

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         It is the responsibility of all counsel and pro se parties to notify the Court of his or her entry
  of appearance, withdrawal of appearance, substitution of counsel, or change of address, e-mail
  address, or telephone number by complying with the Court’s Electronic Case Filing Procedures or
  paper-filing the appropriate document with the Court.

         The Parties are further advised that they shall not assume that the Court will grant the relief
  requested in any motion. Failure to appear at a court-ordered conference or to comply with a court-
  ordered deadline which has not been vacated by court order may result in the imposition of
  sanctions under Fed. R. Civ. P. 16(f).

         Anyone seeking entry to the Byron G. Rogers United States Courthouse will be required to
  show valid photo identification. See D.C.COLO.LCivR 83.2B. Failure to comply with this
  requirement will result in denial of entry to the courthouse.

          DATED: June 12, 2013 at Denver, Colorado.




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